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IN THE CERCUTI` COUR'I` OF THE
EIGH'I`EENTH JUDICIAL CIRCUI'I`, I`N AND
FOR SEMINOI_,E COU`I\'T'Y, FLOR[DA

cAsE No.: / Z___, ('/71 .. 375/_(95/,./¢
MANH VAN 'l'RAN
vs.
JAMES M. L'E.lSl'NG and
ELCON, INC., a foreign corporation

Der'endant(s).

COMPLA.D\"I`

Plaintiff, MANH VAN TRAN by and through his undersigned attorney, sues the
Defenda:'its,' JAMES M. LEISING, individually and ELCON l'NC., a foreign corporation, and
alleges;

GENERA_L ALLEGATIONS

l. This is an action for damages which exceed the sum of Fiftcen Tnousand Dollars
(s:s,ooo.oo).

2. At all times material hereto, Plaintiff, MANH VAN TRAN, was a resident of
Sanford, Seminole County, Florida.

3. At all times material hereto, Defendant, JAMES M. LEISTNG, was a resident of
Orlando, Orange Cou.nty, Flon'da.

4. At all times material hereto, Defeodant, I:`.LCON, D\lC., was a foreign corporation
with its registered offices located in Batavia, New York.

5. At all times material bereto, Defendant, ELCON, INC, was licensed to conduct

business in Flor'ida.

 

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sTEPHEN HAWLE\' ASSO

6. On or about Septetnber 30, 2008. Plaintif{, MANH VAN TRA.I\', was the owner
and operator of a 1995 Toyota Caxnry bearing vehicle identification number
4'l`lGKl?,E4SUllZ’/66 traveling on SR 434 and Great Pond Drive in Altamonte Spring,

Seminole County, Flon'da.

COUNT I

Claim AS 'I`O JAMES M. LEISING

 

Plaintiff, MANH VAN,TRAN, realleges a.nd incorporates the allegations contained in
paragraphs 1-6 of this Complaint, as though fully set forth herein, and further alleges:

7. On or about September 30, 2008, Defen<iant, ELCON, INC., was the owner of a
2005 Chevrolet Cl$OO Silverado bearing vehicle identification number 2GCEC194I 1373579.

8. On or about Septcmber 30, 2008, Der’endant, JAMES M. LEISING, was the
operator of a 2005 Chevrolet ClSOO Siive.°ado bearing vehicle identiiication number
2GCEC194] 1373 579 with the express or implied consent ofDefendant, ELCON, INC., traveling
on SR 434 and directly behind Plaintir`f, Manh VAN TKU, in Altamonte Spring, Seminole
County, Flon`da.

9. On or about September 30, 2008, Der”endant, JAMES M. LEISING, negligently
and carelessly operated and maintained the 2005 Chevrolet ClSOO Silverao'o bearing vehicle
identification number 2GCEC19411373579 on SR 434 and Greaz Pond, so that it collided with
the 1995 Toyota Carnry bearing vehicle identification number 4TlGKlZE4SUl 12766 being
driven by Plaintifi`, MANH VAN TRA.N.

lO. On or about September 30, 2008, Defendant, JAMES M. LEISING, while

operating the 2005 C'nevrolet ClSOO Silverado bearing vehicle identification number

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2GCBCl94ll3'/` 3579 on SR 434 and Grcat Pond failed to exercise reasonable caution and
carelessly collided with the 1995 Toyota Camry bearing vehicle identification number
4T1GK12E4SU112766 being driven by Pla.intiffl\/iAN'H VAN TR.M\’.

ll. As a direct and proximate result of the foregoing negligence Plaintiff, MANH
VAN TP~AI\", was injured in and about his extremities, experienced pain and suffering incurred
medical expenses for the treatment of bodily injuries, suffered physical handicap, disability,
disi`tgurement, mental anguish, loss of capacity for the enjoyment of life, expense oi`
hospitalizationz medical and nursing care and treatment loss of earnings, loss of ability to earn
money. Piaintii'r”'s, MANH VAN 'l`RAN, injuries are _ crmanent, with a reasonable degree of
medical probabiliry., and said Plain‘dft` will continue to suffer the losses in the future

'WHEREFOR.E, Plainti{‘£, ViAN”l-l VAN TRAN demands judgment tor damages in excess
0!" Fifteen l`housand Dollars (815,000.00) against Defendants, ELCON, INC., and JAMES M.
LEISING, t`or damages, applicable interest, costs 0!" bringing this action, any other further relief
the Court deems just and proper, and demands trial by jury of all issues so uia'ole.

Count II

V`ICARIOUS LLALBILIT'Y' OF ELCOI\`. INC. a foreign corporation

Plaintiff MANl-l VAN 'I`RAN realleges and incorporates the allegations contained in
paragraphs l-b' of this Complain:, as though fully set forth herein` and further allege :

ll .A.t all times material to this cause o:‘ action, Defendant, JAMES M. LEISI.\"G,
was an agent, servant, employee or officer of Defenciant, ELCON, I`NC., acting within the course
and scope of his employment 'l"herefore, Det'endant, ELCON_. lNC., a foreign corporation, is

vicariously liable for derendan;, JAMES M LEISING, as alieg d in Count l above

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l3. A.s a direct and proximate result of the foregoing negligence Plaintiff, MANl-l
V.AJ\" TRA_N, was injured in and about his c):tremities, experienced pain and suffering incurred
medical expenses for the treatment of bodily injuries suffered physical handicap, disability,
disigu.rernen'., mental anguish, loss of capacity for the enjoyment of life. expense of
hospitalization, medical and nursing care and treatmentl loss of earnings, loss or' ability to earn
money. Plaintifr"s ,MANH VAN 'I`RAN injuries are permanent with a reasonable degree or
medical probability, and said Plaintii‘f will continue to suffer the losses in the future

WHEREFOR.E Plaintift', MANH \l A.\' T`RA_N, demands judgment for damages in excess
of Fi fteen 'l'housand Dollars (Sl$, 000 00) against Defendants ELCO\ INC., a foreign
corporation, and JAMP,S M. LEISING, for damages_. applicable interest, costs of bringing this
action, any other further relief the Court deems just and proper, and demands trial by jury of all
issues so triable

DATED as orlando, orange counry, stories this 23°\ day ofluiy, 2012

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'l`. 407 847 4071
F 407.425.1254
Attomey for Plaintift'

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